
254 F.Supp.2d 1379 (2003)
In re CHARTER COMMUNICATIONS, INC., SECURITIES LITIGATION
No. 1506.
Judicial Panel on Multidistrict Litigation.
March 12, 2003.
*1380 Before WM. TERRELL HODGES, Chairman, JOHN F. KEENAN, BRUCE M. SELYA, JULIA SMITH GIBBONS, D. LOWELL JENSEN, J. FREDERICK MOTZ and ROBERT L. MILLER, Jr., Judges of the Panel.

TRANSFER ORDER
WM. TERRELL HODGES, Chairman.
This litigation currently consists of the fourteen actions listed on the attached Schedule A and pending in four federal districts as follows: eight actions in the Eastern District of Missouri, four actions in the Central District of California, and one action each in the District of District of Columbia and the Southern District of Illinois. Before the Panel is a motion, pursuant to 28 U.S.C. § 1407, brought by defendant Charter Communications, Inc. (Charter) and individual defendants Carl Vogel and Kent D. Kalkwarf, the chief executive officer and chief financial officer of Charter, respectively, for coordinated or consolidated pretrial proceedings of these actions in the Eastern District of Missouri. All plaintiffs and all but one defendant have signed a stipulation consenting to transfer under Section 1407 to the Eastern District of Missouri. Plaintiffs assert that the remaining defendant also does not object to the motion for transfer.
On the basis of the papers filed and hearing session held, the Panel finds that these fourteen actions involve common questions of fact, and that centralization under Section 1407 in the Eastern District of Missouri will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this litigation. These actions share allegations concerning whether Charter has misrepresented its financial condition to the public, or engaged in improper accounting practices, or both in violation of the federal securities laws. Centralization under Section 1407 is thus necessary in order to eliminate duplicative discovery; prevent inconsistent pretrial rulings, especially with respect to class certification; and conserve the resources of the parties, their counsel and the judiciary.
Given the stipulated agreement of all plaintiffs and all but one defendant, and *1381 the asserted acquiescence of the remaining defendant, to transfer under Section 1407 to the Eastern District of Missouri, this district stands out as an appropriate transferee forum for this litigation. We note that the Eastern District of Missouri i) has eight of the fourteen actions pending there and ii) possesses a clear nexus to the litigation because Charter has its headquarters in that district.
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C.A. § 1407, the actions listed on the attached Schedule A and pending outside the Eastern District of Missouri are transferred to the Eastern District of Missouri and, with the consent of that Court, assigned to the Honorable Charles A. Shaw for coordinated or consolidated pretrial proceedings with the actions listed on Schedule A and pending in that district.

SCHEDULE A
MDL-1506In re Charter Communications, Inc., Securities Litigation
Central District of California

Mytien Ngo v. Charter Communications, Inc., et al., C.A. No. 2:02-6004

David Birnbaum v. Charter Communications, Inc., et al., C.A. No. 2:02-6116

Fred B. Storey v. Charter Communications, Inc., et al., C.A. No. 2:02-6283

Patricia Morrow v. Charter Communications, Inc., et al., C.A. No. 2:02-6297
District of District of Columbia

Evelyn Gadol v. Charter Communications, Inc., et al., C.A. No. 1:02-1714
Southern District of Illinois

George Pike v. Charter Communications, Inc., et al., C.A. No. 3:02-947
Eastern District of Missouri

Carmen Rodgriguez, et al. v. Charter Communications, Inc., et al., C.A. No. 4:02-1186

Andrew Budman, et al. v. Charter Communications, Inc., et al., C.A. No. 4:02-1197

Jill D. martin v. Charter Communication, Inc., et al., C.A. No. 4:02-1214

James L. Gessford v. Charter Communications, Inc., et al., C.A. No. 4:02-1233

Lee Posner v. Charter Communications, Inc., et al., C.A. No. 4:02-1357

Laurence E. Balfus v. Charter Communications, Inc., et al., C.A. No. 4:02-1377

John Dortch v. Charter Communications, Inc., et al., C.A No. 4:02-1381

Stoneridge Investment Partners, LLP v. Charter Communications, Inc., et al., C.A. No. 4:02-1478
